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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-CR-175-1 (TJK)
                                               :
ETHAN NORDEAN,                                 :
                                               :
                       Defendant.              :

                              GOVERNMENT STATUS REPORT

       At the July 15, 2021, status hearing in this case, the Court ordered the parties to submit a

joint status report regarding defendant Ethan Nordean’s access to discovery and his ability to

confer with counsel while detained at the Federal Detention Center (FDC) SeaTac, a federal

Bureau of Prisons (BOP) facility in Seattle, Washington.

       As described herein, beginning immediately after the status hearing, the government began

communicating with attorneys at FDC SeaTac and the BOP. The government also continued its

communications with defense counsel to provide updates on the government’s findings.

       On July 25, 2021, the government sent a draft status report to defense counsel. That status

report is substantially identical to the substance presented below. Defense counsel responded

shortly thereafter and reiterated his complaints about the government’s ex parte communications

with FDC and BOP, which were having the (apparently unwelcome) effect of improving the

conditions of Nordean’s access to materials and counsel. Defense counsel advised that he would

not participate in the preparation of a joint status report. Government counsel responded and made

clear that it welcomed defense counsel’s contribution to the joint status report, including any

comments as to the shortcomings of the accommodations or remaining questions as to the process.

Defendant again refused to participate in or contribute to the joint status report.
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       Defense counsel has indicated that he does not agree with certain representations in this

report. The government has not attempted to characterize those complaints here given that defense

counsel intends to file a separate status report.

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       On April 20, 2021, the Court granted the government’s motion to revoke the defendant’s

pretrial release. Doc 65 (Detention Order). The Court ordered the defendant to report for

confinement as directed by the Pretrial Services Office in the Western District of Washington. Id.

at 3. The Court further ordered that “[t]he defendant must be afforded a reasonable opportunity

for private consultation with defense counsel,” and that, “[o]n order of a court of the United States

or on request of an attorney for the Government, the person in charge of the corrections facility

must deliver the defendant to a United States Marshal for the purpose of an appearance in

connection with a court proceeding.” Id. On June 25, 2021, the Court of Appeals affirmed this

Court’s pretrial detention order. Doc. 107.

       Following this Court’s April 20, 2021, order, the defendant, who is a resident of the state

of Washington, was detained—and remains detained—at FDC SeaTac. In correspondence with

the government and statements to the Court, defense counsel has raised concerns regarding the

defendant’s ability to review discovery and confer with defense counsel while detained. On July

1, 2021, the government offered to contact FDC SeaTac regarding defense counsel’s concerns. On

July 14, 2021, defense counsel responded and restated his concerns. Defense counsel also

forwarded a message from FDC SeaTac explaining that the facility permits defense counsel to visit

clients without an appointment seven days a week, and that counsel may bring electronics such as

a laptop to review discovery with their client. The government responded that day by offering to



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reach out to FDC SeaTac, either with defense counsel or separately, to find out what solutions

might be possible.

       Immediately after the hearing on July 15, 2021, the government made contact with FDC

SeaTac. Since that time, the government has communicated both by email and telephone with

attorneys and executive staff at FDC SeaTac and the Bureau of Prisons.            Based on those

communications, the government has learned that although FDC SeaTac adjusted its operations

significantly during the pandemic, the facility has returned to its normal, pre-pandemic policies

and procedures, including those regarding legal visits and discovery review. Those policies and

procedures, a copy of which are attached hereto as Exhibit A, provide for in-person meetings with

defense counsel seven days per week. The government has further learned that defense counsel

and their clients can communicate using a “CJA phone” located within each unit and that

defendants may also arrange to have hour-long telephone calls with their attorneys that take place

in a private room within the facility.

       FDC SeaTac permits attorneys to review discovery materials with a defendant in person

on a computer, upon execution of a signed agreement form, included in Exhibit A. FDC SeaTac

also provides various methods by which defendants can independently review discovery materials.

Among other things, Defendants are permitted to keep legal paperwork in their cells. Defendants

are also permitted to keep CDs/DVDs of electronic materials in their cells; this electronic media

can be reviewed on computers located within the defendant’s unit. FDC SeaTac also has a policy

that will facilitate the review of materials designated as “sensitive” and “highly sensitive” under

the protective order issued in this case. CDs/DVDs containing such materials may kept in the

custody of the Education Office and defendants are permitted to check out and review those

materials on computers within that unit. The government is willing to work with the defendant and



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his counsel to address any requirements in the Protective Order that require “supervision” of

Defendant’s review of “sensitive” and “highly sensitive” materials.

       With respect to communication facilities, FDC SeaTac has a limited number of rooms set

up for video teleconferencing. Those rooms are allocated primarily to defendants who have

scheduled court appearances. Although those facilities were also made available during the

pandemic for legal and certain social visits, FDC SeaTac has discontinued this option with the

resumption of in-person visits due to the staffing and resource allocation that in-person visits

require.

           The government, FDC SeaTac, and the BOP recognize that the circumstances of this case

are atypical. The defendant is currently detained in a facility far from the district in which he is

charged, and far from his defense counsel, who are in New York, NY, and Alexandria, VA. FDC

SeaTac has expressed that it is willing to make reasonable accommodations to facilitate

communications between counsel and the defendant. Among the options would be to permit hour-

long phone calls in a private room where the defendant could review legal materials and notes

from his discovery review with defense counsel, and limited VTC meetings during which defense

counsel could confer with the defendant over video. Please note that FDC SeaTac has advised that

it requires at least 72 hours advance notice in order approve and process any such request. FDC

SeaTac can also accommodate having non-attorneys working on behalf of the defense meet with

the defendant in person (and outside the presence of an attorney) to review discovery materials.

Any such request would be subject to a full and satisfactory background check for the non-attorney

legal staff, and would require at least seven (7) days advance notice. Attorneys and Executive

Staff at FDC SeaTac (including the warden) have reviewed the representations in this paragraph

and confirmed their accuracy.



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       The government notes that it is the policy of the United States Marshal’s Service to detain

defendants in the jurisdiction in which they are charged. For the defendant, that policy will result

in his eventual transfer to the District of Columbia. The D.C. Department of Corrections has robust

procedures governing access to defense counsel and the review of discovery materials, including

provisions permitting a defendant to have access to voluminous electronic evidence. Moreover,

both the Central Detention Facility and the Correctional Treatment Facility in Washington, D.C.,

are located near one of defendant Nordean’s attorneys, whose office is located in Alexandria, VA,

and significantly closer to his co-counsel in New York.

                                              Respectfully submitted,

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